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EXHIBIT A-2
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         STATE                OF NEW                    YORK
         SUPREME                     COURT                      :    COUNTY                     OF       ERIE




         SKY           GLOBAL                    LLC,                                                                                                              COMPLAINT


                                                                                Plaintiff,                                                                         Index         No.:


                            vs.


         WILLIAM                     NOBLE
         and

         WILLIAM                     NOBLE                   RARE               JEWELS                  LP,


                                                                                Defendants.




                                                                                                                          Global"
                                        Plaintiff                   Sky    Global              LLC          ("Sky         Global"),            by      its      attorneys,               Phillips           Lytle      LLP,


                                                                                                                                                                                                 ("               Jewels"
         for     its    complaint                 against             William                Noble           and      William           Noble           Rare             Jewels          LP      ("Rare


                                                  "Defendants"
         and      collectively,                   "Defendants"),                           alleges          upon        information                 and         belief       as follows:


                                            1.               Plaintiff               Sky      Global           is a foreign             limited              liability        company,                    authorized


         to do         business             in     the       State        of        New        York,          with       a principal            place              of business              in      the    County           of



         Erie,         State        of New              York.


                                        2.                    Upon             information                  and       belief,        William            Noble              is an        individual             residing


         and      working              in        the     County                of    Dallas,           State         of Texas.


                                            3.                William                Noble           transacts           business           within             the       State      of     New            York;      has



         entered             into    contracts                 to     supply            goods          or      services         in    the      State          of    New          York;           regularly          does



         or solicits              business              within            the        State      of     New           York;      derives           substantial                revenues                 from        goods



         used          or    consumed                   or    services               rendered           in     the      State        of New          York;               and/or           derives           substantial



         revenue              from      interstate                  commerce                   and      should            reasonably                expect           his     actions             to   have



         consequences                   in        the        State        of    New          York.



                                        4.                    Upon             information                  and       belief,        Rare       Jewels              is a limited              partnership              with



          a principal               place          ofbusiness                   in     the     County              of Dallas,           State        of Texas,




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                                        5.                Rare          Jewels         transacts             business               within             the        State       of New             York;             has


         entered          into     contracts               to     supply          goods         or      services              in    the        State         of    New            York;         regularly                does


         or    solicits      business               within          the        State      of New             York;            derives             substantial                 revenues                 from         goods


         used       or    consumed                  or    services             rendered            in      the     State           of    New        York;             and/or              derives            substantial


         revenue          from       interstate                  commerce                and       should              reasonably                 expect             its     actions           to have


         consequences                   in    the        State      of    New           York.


                                        6.                From           October           2017          through               February                 2018,          Sky         Global             furnished,


         provided,           and        delivered                 goods         and/or          merchandise                         to    the      Defendants,                      as set           forth     in    the


         statements/invoices                             attached              as Exhibit               A,       which         are        incorporated                      herein          by       reference.


                                        7.                Sky       Global             delivered             these        goods               and/or              merchandise                    and



         Defendants,               by        themselves                  and     through             their         employees,                     accepted                 any      and        all     goods         and/or



         merchandise                provided                 by     Sky        Global.


                                        8.                All      of    the     goods          and/or             merchandise                      were            provided              for        the     benefit            of


         the    Defendants.


                                        9.                Exhibit          A     illustrates               the     statements/invoices                                     sent     to    Defendants



         confirming              delivery,               costs,         and      payments                  of the        goods            and/or              merchandise.



                                        10.                         Global           requested               payment                    from       Defendants                      for    the        above-
                                                          Sky


         referenced              goods         and/or              merchandise.



                                        11.               To      date,        the      Defendants                     have        failed         and        refused              to     pay         Sky      Global            the



         balance          owed.


                                        12.               The       remaining                 amount              due         from          the    Defendants                      on     the         unpaid



         invoices          is $488,331.84.


                                        13.               Despite              demands             and        requests,                 the     Defendants                    have         failed            and     refused



         to    make        payments                 in    full     to     Sky        Global          for     the        goods            and/or              merchandise                    provided.



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                                                                              FIRST              CAUSE                   OF ACTION
                                                                                            (Breach              of     Contract)


                                         14.             The        above         paragraphs                     are     realleged              herein.


                                         15.             Sky        Global            provided            certain              goods           and/or           merchandise                    to     the


         Defendants                as reflected                on    the      attached               invoices.


                                         16.             Defendants                   failed         to   complete                   their      obligations                 by    failing        to    pay       the


         amounts             due        thereunder.


                                         17.             By      failing         to    pay      the       full         amounts               when        due,         the     Defendants                   breached


         their      agreements                 with       Sky        Global.


                                         18.             As      of April             18,    2018,         Defendants                        remain         indebted              to   Sky       Global           in    the


         amount             of   $488,331.84,                    representing                  unpaid             goods,             fees,      and      other         charges              as reflected           on


         the     attached              invoices.


                                         19.             Accordingly,                   Defendants                      are     liable         to     Sky     Global             for   the       amount           of


         $488,331.84                   plus     statutory            interest.


                                         20.             As      a result         of     the     foregoing,                    Sky        Global         has       been          damaged              in    excess       of


         the     jurisdictional                 limits        of    all    lower            courts        which               would           otherwise             have         jurisdiction.


                                                                           SECOND                     CAUSE                   OF ACTION
                                                                                               (Account                  Stated)


                                         21.             The        above         paragraphs                     are     realleged              herein.


                                         22.             Prior       to    the        commencement                             of     this     action,          Sky         Global          rendered


         statements               of    its    claims          to   the      Defendants,                   which              were           based       on     the     transactions                  between



         the     parties,          as set       forth         above.


                                         23.             Defendants                   accepted             and          retained              the     statements                 without            objection.



                                         24.             A    reasonable                amount              of         time         has      passed         such       that        there       is an        account



         stated.
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                                        25.               Based             on    the     foregoing,             Sky     Global           seeks        damages            for     an    account



         stated         in   the      amount              of    $488,331.84                 plus       interest.



                                        26.               As     a result            of   the    foregoing,              Sky         Global          has    been        damaged               in    excess   of



         the       jurisdictional                limits         of    all    lower         courts       which           would          otherwise              have      jurisdiction.



                                        WHEREFORE,                                 Sky     Global         demands               judgment               against          the     Defendants,



         jointly         and        severally,            in    the         amount          of   $488,331.84                  plus      statutory           interest,           and     for        such



         other         and     further           relief        as this           Court       deems        just        and      proper.



         Dated:              Buffalo,            New           York
                             April       19,      2018
                                                                                                         PHILLIPS                    LYTLE             LLP




                                                                                                         By
                                                                                                                         Amanda               L.      Lowe,        Esq.

                                                                                                         Attorneys              for      Plaintiff

                                                                                                          Sky        Global      LLC
                                                                                                          One         Canalside
                                                                                                          125        Main       Street

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